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 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF COLORADO

 In re FRONTIER AIRLINES
 LITIGATION                                               No. 19-cv-03468 (CMA) (MEH)




        JOINT STIPULATION AND ORDER FOR DISMISSAL OF ALL CLAIMS WITH
                                 PREJUDICE

        All disputes between Plaintiffs Melissa Hodgkins, Stacy Rewitzer, Renee Schwartzkopf and

 Heather Crowe, and Defendant Frontier Airlines, Inc., having been resolved, the Parties, by and

 through their undersigned counsel, hereby stipulate and agree, pursuant to Federal Rule of Civil

 Procedure 41(a) and in consideration of a negotiated settlement executed by them, that all claims

 against any party in the action originally captioned Hodgkins et al. v. Frontier Airlines, Inc., No. 19-

 cv-3469 RM-MEH (since consolidated with the action originally captioned Freyer et al. v. Frontier

 Airlines, Inc. No. 19-cv-03468-CMA-SKC, under the above caption), be dismissed with prejudice, and

 with each side to bear its own attorneys’ fees and costs except as they may otherwise have agreed,

 provided that the Court retains continuing jurisdiction for purposes of enforcing the Parties’ settlement

 agreement.

        The Parties further stipulate and agree that the claims and action brought by Plaintiffs Randi

 Freyer, Brandy Beck, Erin Zielinski and Shannon Kiedrowski in Freyer et al. v. Frontier Airlines, Inc.

 No. 19-cv-03468-CMA-SKC, have not been resolved, and remain pending before this Court.

        Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that (1) the claims

 and action of the Parties in the action originally captioned Hodgkins et al. v. Frontier Airlines, Inc., be

 and hereby are dismissed with prejudice, with each side to bear its own attorneys’ fees and costs

 except as they may otherwise have agreed; (2) the Court will retain continuing jurisdiction for

 purposes of enforcing the Parties’ settlement agreement, and (3) the claims and action of the Parties in

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 the action originally captioned Freyer et al. v. Frontier Airlines, Inc. by Plaintiffs Randi Freyer,

 Brandy Beck, Erin Zielinski and Shannon Kiedrowski against Defendant Frontier Airlines, Inc.,

 remain pending before this Court.


 Dated: April 13, 2022



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 SO ORDERED:

 Dated:

 ____________________                       _________________________
 Denver, Colorado                           United States District Judge




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